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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division




      W. GREG VOGEL,

                              Plaintiff,
                                                                  Case No. 2:18cv361
       v.

      CITY OF VIRGINIA BEACH,

                              Defendant.



                                  JUDGMENT IN A CIVIL CASE

            Decision by the Court. This action came for decision before the Court.
            The issues have been considered and a decision has been rendered.

  IT IS ORDERED AND ADJUDGED that Defendants' Motion to Dismiss for Lack of Subject
Matter Jurisdiction, ECF No. 5, is GRANTED. Plaintiff’s action is DISMISSED WITHOUT
PREJUDICE.

DATED: October 24, 2018                                    FERNANDO GALINDO, Clerk


                                                           By        /s/
                                                                  Deputy Clerk
